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                                     UNITED STATES BANKRUPTCY COURT
                                            Northern District of lllinois, Eastern Division

In Rc:
                                                                                                (ill,nosn)


                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CR.EDIT COUNSELING Rf, QUIREMENT


                     Warning: You must be able ao check truthfully one oftbe live statemetrts rEgarding
              credit counscling listed below. Ifyou cannot do so, you are not eligibl€ to tile e bankruptcy
              case, rnd the court can dismiss rny crse you do file,lfthat happ€[s, you will lose whatever
              filing fee you paid, and yourcreditors will b€ able to resume collectiotr activities against
              you. Ifyourcase is dismissed Ndd you file another bankruptcy case later, you may be
              required to psy a second filing fee snd you may have to take exlra steps to stop cr€ditoB'
              collection activities.


                    Every individual debtor must filc this Exhibit D. Il ajoint petition is filcd, each spouse
              must complete and file a separate Exhibit D. Check one ofthe five slalements below and atlach
              any documents as directed.


               S      l.withinthe  lE0 days beforc the filing of my bankruptcy case,l received abriefing
             lrom a credit counseling ageDcy approved by the United States trustee or bankruptcy
             administrator that outlined thc opportunities for available credit counseling and assisted me in
             performing a related budget analysis, and I have a certificate from the agency describing the
             ser,,ices provided to me. Attach a copy ofthe certificale and a copy ofany debt repayrnent plan
             developed through lhe agency.


               n    2. Within the 180 days before the filing ofmy bankruptcy case, I received a briefing
             from a credit counseling agcncy approved by the United States trustee or bankruptcy
             administrator that outlined lhc opportunities foravailable credit counseling and assisted me in
             perlorming a related budget analysis, but I do not have a certificate from the agency describing
             the scrvices provided to mc. You must filc a copy ofa certificale from the agency describing lhe
             services provided to you and a copy ofany debt repaymcnt plan developed through the agency
             no lalcr than I 4 days after your bankruptcy case is fi led.
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                  E     3. I certily that I requested credit counseling services from an approved agency but was
                 unablc to obtain the seftices duringthe five days from the time I made my request, and the
                 following exigenl circumstances merit a temporary waiver ofthe credit counseling requiretuent
                 so I can file my bankruptcy case now. fsummarize exigent circumstances here.]


                        Ifyour certifrcltion                                        still obtain the credit
                                                       is sstisfactory to the court, you must
                counseling b efitrg within ihe first 30 aftcr you file your bankruptcy pctitior and
                promptly lile a certilicate from the agency that pn vid€d lhe counseliDg, together wilh r
                copy of any debt maugement phn developed thrcugh tbe agency. Failure to Iulfill these
                rcquirrmenas may rrsult in dismisssl ofyour cas€. Any extensiotr of the 30-day derdline
                can be gratrted only forcause and is limitcd to a mrximum of 15 days. Yourcgse msy also
                be disrnissed ifthe court is not setisfied with your r€'sonr for filing your bankruptcy case
                without first rcceiving a crcdit couns€ling briefing.

                  -   4. I am not required to receive a credit counseling briefing because of: [Check the
                applicable statement.lIMust be accompanied by a motion for determination by the court.]

                              .     lncapacity. (Defined in I I U.S.C. $ 109(h)(4) as impaired by reason ofmental
                              illness or mental deficicncy so as to be incapable ofrealizing and making mtional
                              decisions wi!h respect to financial responsibilities.);

                              -     Disability. (Defined in I I U.S.C. $ 109(hX4) as physically impaired to the
                              extent ofbeing unable, afler reasonable e{fort, to participate in a credit counseling
                              briefing in person. by telephone. or through the lntemet.):

                              E    Active military duty in a military combat zone.

                  E  5. The Unitcd Stat s trustee or bankruptcy administrator has delermined that rhe credit
                counscling r€quirement of I I U.S.C. $ 109(h) does not apply in lhis district.


                I certify udder pedalty ofperjury that the information pmvided above is true and




                                                 l//
                Signature   ofDebtor        J"/-             "/" '       ' 5/'
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                                UNITED STATES BANKRUPTCY COURT
                                       Northern District of lllinois, Eastern Division

ln Rei                   John. Linda   Gecia
                              D.btor                                                         (ifkno$n)


                EXHIBIT D - INDIVIDUAL Df,BTORIS STATEMENT OF COMPLIANCE WITH
                                CREDIT COUNSELING RXQUIRf, MENT


                  Warning: You must be able to check truthfully one oflhe five staternents regarding
           credit coonseling lilted below. lfyou cannot do so, you are not eligible to file a bankiuplcy
           caset and thc cou can disrDiss any case you do lile. lfthst happens, you will losc \rhatever
           filidg fee you paid, rnd your cEditors will be able to r€sume collection eclivities agaiNt
           you. lfyour case is dismissed and you file anothcr brnkruptcy ces€ later, you may be
           requir€d to psy a s€cond liling fee and you may bave to take ertrr steps to stop cl€ditors'
           collection activiti€s,


                 Every individual debtor must file this Exlibit D. Ilajoint petition is filed. each spouse
           must complete and filc a separate Exhibit D. Check one ofthe five slatements below and aflach
           any documents as dirccted.


            E     l. Within the l S0 days before the filing of my bankruptcy case. l received a briefing
           from a credit counseling agency approved by thc United States lrustee or bankruptcy
           administrator that outlined the opportunities for available credit counseling and assisted me in
           pcrforming a related budget analysis, and I have a cenificate from the agency describingthe
           services provided to me. Atlach a copy ofthe cerlificate and a copy ofany debt repayment plan
          developed through th€ agency.


            !    2. With in rhe I 80 days before the fi ling of my bankruprcy case, I received a brieting
          from a credit cornselirg agcnoy approved by the United States trustee or bankruptcy
          administrator that outlined the opponunities foravailable credit counseling and assisted me in
          performing a related budget analysis, but I do nol have a ccrtificate ftom the agency describing
          the services provided to me. You must file a copy ofa certificale from the agency describing the
          services provided to you and a copy ofany debt repayment plan developed through the agency
          no later than I 4 days after your bankruptcy case is ti led.
            Case 14-28864                      Doc 1     Filed 08/06/14 Entered 08/06/14 13:32:41         Desc Main
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                                                           Document     Page 7 of 32



               n     3. I certify that I requestcd credit counseling services from an approved agency but was
              unable to obtain the services during the five days from the time I made my requcst, and the
              following exigent circumslances merit a temporary waiver ofthe crcdit counseling requirement
              so I can file my bankruptcy case now. lsummarize exigent circumstaoces here.]


                       Ifyour certitication                                   still obtain the cEdit
                                                       is satisfactory lo the court, you must
              counseling brielitrg witbin the              lirst        bukiuptcy petitior atrd
                                                                   30 sfter you file your
              promptly lile a certilicate fmrn the agency that provided the counseling, together*ith a
              copy of rny debt maD&gement plan developed ihmugh the ageDcy. Frilurc to flrllill these
             EquiFements may rcsult in dismissel ofyour case. Any exteNion ofthe 30-day derdline
             can be granled only for caus€ and is limited to a maximum of 15 days. Your ca3e may also
             be dismi$ed ifthe court is not salisfied with your reasons for tiling yo[. bsnkruptcy case
             wiihout lirst rcceivitrg a crcdit couNeling briefing.

               E    4. I am not req ired to receive a credit counseling briefing because of: lcheck the
             applicable slalement.l[Must be accompanied by a motion for delemination by the court.]

                             E     Incapacity. (Defined in           ll
                                                              U.S.C. { I09(h)(4) as irnpaired by reason ofmental
                             illness or mental deficicncy so as to be incapable ofrealizing and making rational
                             decisions with respect 1o financial responsibililies.);

                             D     Disability. (Defined in I I U.S.C. S 109(h)(4) as physically impaired to the
                             extent ofbeing unable, after reasonable effort, to participate in a credit counseling
                             briefing in person, by telephone. or through the Internet.);

                             I      Active military duty in a military combat zonc.

               E   5. fte United States trustee or bankruptcy administrator has determined that the credit
             counseling requirement of l1 U.S.C. S I09(h) does not apply in this district.


             I ccrtify under penelty ofperjury that the information provided above is true and
             corltct




                                                          \-1.
             Signature ofJoint         Debto, '*                 -c- l.:1"*
             Dale:
            Case 14-28864 Doc 1 Filed 08/06/14 Entered 08/06/14 13:32:41                                                       Desc Main
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                                      UNITED STATES BANKRUPTCY COURT
                                        Northern District of lllirois, Eastern Divisiotr

In Rc:                        Johr. Linda Garcia                                    Casc No-

                                    Debtor                                                                             (if klown)

                                                                                    Chaprcr                                  7




                                                      SUMMARY OF SCHEDULES

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clanns 6om Scheduld D. E. ed F ro d€rmire ihe bral mounr of $c debto/s lirbililiB. Irdividual debrou murr llso @mptcie the "Sbtisrical
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                                                          UNITED STATES BANKRUPTCY COT]RT
                                                                    Northern District of Illinois, Erstern Division

In Re:                                                                                                        C[scNo.
                                                                                                                                                   (ilkno$r')
                                                                                                              Chapter                                        7



                  STATISTICAL SUMMARY OF CERTAIN LIABILITIES AIID RELATED DATA (28 U.S.C. $ I59)

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Oblisarions (from S.hedule F)

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In Re:                             John Linda Garcin                                                Case   No.
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                                                             SCHEDTJLE A - REAL PROPERTY
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                                                    SCHEDULE B - PERSONAL PROPERTY
       Exccpr a diNtcd below.lisr allp.Nnal popcrD..-. oflhe dcbrd of wiarqer [ind. Ifrh€ &ho has no prcFny in ffi or m@ oflhc cal.goris.
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     pefiim   is   filed st!l. thc arnou.t ofany cxenplions clained only in Schcdule C - Propefly Claimed as Exempt

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4.  Ilouschold Soods and lirmishings. includins                                                                                                     500 00
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5. Books, picturcs  8nd oth€r an objecrs,           x
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 I !. Inl€r.ns in an cducalior IRAas dcfin.d in     X
26 U.S.C. S 530(bX | ) or undcr a qualificd Siale
tuilion plan as d€fined in 26 U.S.C | 529(bxl).
Give padicula$.



12. Interc$ in IM, ERISA. K€ogh, or other           x
p€Nion or pmfil shlrina pllns. Give paniculd.
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                                 John, Linda Carcia                           Case   No.
In Re:
                                       Dcbtol                                                       (irk'oM)




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                                                                                                   zc   D€ducting AnY Secured
                                                                                                        Claim or Exemption
Tlp€ ofProperry                                              Description and Lcalion of Propertv

13. Stock and     int   rests in incorpomled ond         x
uincorporal€d business€s- Itemize




14. lnlerests   in PadnershiPs o.joint                   X




I 5.   GoveBn€nt and corporate bonds and olhd            X
negotiable and non-negotiable insauments-




16.    A.counts rel)eilable.                             x




 t7. Alinony,     nainlmdcq      suPPorl   dd            x
propent s€ttlemenls ro which the deblor is or
may     b. enlitled. Give Paniculars.




 18.   Olhtr liquidated debls owing debtor               x
including    rx   refinds. Give Paniculas




  I9. Eouitable or tuturc inlercs! life estales. and     x
 rishrs or powers exercisable for rhe b€nefit of
 th. dehbr otler rbar those lisled in ScheduleA




 20. Contirgent and nonconlingent interesls ir           x
 real e$ale ofa decendent dealh benefit plan'
 life insumnce policy, or trust.
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                              Joln. Linda Carcia                               cs   No.
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                                                                                                    E'
                                                                                                           Deducting Any Secured

Type   ofPmFc.ty                                            Description ard l,oc{tion of Prcperty   tz     Claim or Exemption

21. Olhs contingent or unliquidsted claims of           x
every narure, including tax retunds! count€f-
claims ofth€ deblofind riehts to setoff clalns.
Giv€ estimted value ofeach.



22. Pelents, cop)'ridrts, and o*ler int€llectual        x
proDerty GiveParliculds.




23. Licenses.   ft
                 chises. and olher general              X
inranSibles. Giveparticulars.




24. Customer lists or other compilations contaln_       x
ins peMndly idenlifiable iniormstion Povided
,^ th. dehrorh! rnd;vidulh in conneclion widr
obtaining a pr;duct ot sesi@ fton ihe debioi pri-
marily for personal. fanily, or household purposes.


25. Automobiles, trucks,    tl!il6, ed   olher              2012 Ford Escape                         l                             9400-00
rehicles and accessories.




26- Boats, moto6, and acc€ssories-                      x




2? Ail@it md accdsories.                                x




?8. Oflice equipnenl, tumishings. ond suPPli€s          x
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In   Re:                     John, Linda   Gdcia
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                                                                                                        Claim or Exemption
TtTe ofProlertY                                           Description and Location of Propertv

29. Machinery fixtures, cquipmnl     atd             x
supplies used in busin€ss




30.lnventory                                         X




                                                     X




32. Crops - Srowing or harvested.   Gilc              x




 33.   Fming   equipment md implements.               X




 34. Farin supplies, chemicals, and f€ed              X




 35. Other peBonal properb/ of   dv kind nor
 already   lined. It€nize.
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 In   R€r                              John. Linda Garcia




                                              SCHEDULE C . PROPERTY CLAIMf,D AS EXEMPT

Debtor claios U€ excnptioG lo shich dento. is       {iid.d   undd:                  E   Chec*   ifdehor claim   a   hm6t€d ermplion   thsr   dcds
(Che.kooe      box)                                                                     $155,675.1

E     ll   u.s.c.   s 522(bX2)
El ll u.s.c. { r22(bx3)



                                                                Sp€cily Law ProvidinS
 Description of Property                                        Each Exemption                                                      D€ducling Exemption

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  U5.oo




                                                                735-5/l2J0ol(b)                                            l(n.00                         t   00.00




                                                                 715-5112-t001(b)                                          500.00                         500_00




                                                                 735-5/12-1001(b)                                          400_00                         400.00




                                                                                                                          1500.00                     1500.00
  Lif€ insuBce policy with Monume al Life                        735-5n2-roOl(b)
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In   Re:                       John. Linda Garcia                             Cas€   No.




                                                      Sr€ciry Law Providing
Description of Property                               Each Exenption                   Exempliot             Deductirg Exemption

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               Case     14-28864
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ln Rc:                              .lohn- Linda Garcia
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                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
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In Rel                                lohn. Linda Garcia
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In R€:                               John. Linda Garcia                                          Case     No.
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                                           DECLARATION CONCERNING DEBTOR(S) SCHEDULES

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